UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,
                                             Plaintiff,                        MEMORANDUM

                 -against-                                                     22 Cr. 18 (KMK)

JOSEPH MAHARAJ,

                                             Defendant.
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TO: Nelson S. Román, United States District Judge:

        Please find attached a transcript of the March 22, 2023 plea allocution over which I
presided, setting forth my Report and Recommendation to you. Please let me know if I can be of
further assistance.

Dated: April 4, 2023
       White Plains, New York


                                                                 Respectfully Submitted,

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                                                                 JUDITH C. McCARTHY
                                                                 United States Magistrate Judge
